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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA,
  DEMETRIO VALEGRA,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


                                         MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on March 16, 2018.

          Plaintiffs’ Unopposed Motion to Excuse In-person Attendance at the Settlement Conference
  [filed March 14, 2018; ECF No. 126] is granted. As a cautionary note, however, if the lack of
  physical presence of one or all of the Plaintiffs becomes a hindrance to the progress of settlement
  negotiations, the conference may be recessed and re-convened at a time when the Plaintiff(s) can
  be present, and costs of the recessed conference may be assessed against the Plaintiffs.
